          Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


  ROOSEVELT REO PR CORP.,

     Plaintiff,

                  v.                                   CIVIL NO. 17-2113 (JAG)

  MANUEL ANTONIO TOLEDO GARCÍA, et al.,

     Defendants.


                                    OPINION AND ORDER

GARCIA-GREGORY, D.J.

       Pending before the Court is Plaintiff ROOSEVELT REO PR CORP.’s (“Roosevelt” or

“Plaintiff”) Motion to Remand (the “Motion”) this case to the Puerto Rico Court of First Instance,

Aguadilla Superior Court (“state court”). Docket No. 6. Defendants’ Manuel Antonio Toledo

García, Brunilda Rojas González and the Conjugal Partnership between them (collectively

“Defendants”) opposed the Motion. Docket No. 12. For the reasons stated below, the Court

GRANTS Plaintiff’s Motion and REMANDS this case to the state court.


                                         BACKGROUND

       In 2011, Plaintiff initiated a foreclosure proceeding against Defendants at state court.

Docket No. 6 at 2. The state court accepted a settlement where Defendants agreed to pay any

outstanding debts and a judgment was entered to that effect. Id. at 3. The settlement agreement

warned that if Defendants failed to comply with the agreement, the state court could authorize

the sale of the property in public auction. Id. Defendants failed to comply with the agreement and,

as a result, the property was scheduled for public auction. Id. Defendants filed a motion to stay the
          Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 2 of 8


CIVIL NO. 17-2113 (JAG)                                                                     2

proceedings, which the state court denied on June 30, 2017. Id. at 4. Subsequently, Defendants filed

two motions for reconsideration of the denial of the motion to stay, which the state court

respectively denied on July 19 and August 8 of 2017. Id.

       After the denial of the motions for reconsideration, Defendants removed this case to the

District Court of Puerto Rico on August 21, 2017. Docket No. 1. In their notice of removal,

Defendants alleged that it became “ascertainable” from the state court orders that the case had

become removable. Id. at 3. In response, Plaintiff filed Motion arguing the case was improperly

removed and requesting sanctions on Defendants’ counsel. Docket No. 6 at 1, 9.


                                           ANALYSIS

       Defendants removed this case to federal court. Docket No. 1. Defendants argue that the

Court has subject matter jurisdiction because Plaintiffs did not comply with several federal laws.

Id. at 2. Defendants also argue that they did not know they could remove this case until the state

court denied their two motions for reconsideration. Id. at 3. The Court finds both arguments

unavailing and REMANDS this case to state court.


  I.   Subject-Matter Jurisdiction

       Defendants argue that the Court has subject-matter jurisdiction stemming from a federal

question. Docket No. 1 at 2. Specifically, Defendants claim that Plaintiff failed to comply and

violated the Truth in Lending Act (“TILA”), the Real Estate Settlement Procedures Act

(“RESPA”), Home Mortgage Disclosure Act (“HDMA”), the Home Ownership and Equity

Protection Act (“HOEPA”), the Equal Credit Opportunity Act (“ECOA”), the Fair and Accurate

Credit Transaction (“FACT”), among others. Id. The Court disagrees.
          Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 3 of 8


CIVIL NO. 17-2113 (JAG)                                                                             3

        A district court must determine a jurisdictional question by what appears on the plaintiff’s

well-pleaded complaint and without reference to any other pleadings. Ortiz-Bonilla v. Federacion De

Ajedrez de Puerto Rico, Inc., 734 F.3d 28, 34 (1st Cir. 2013) (citing Templeton Bd. of Sewer Comm’rs v. Am.

Tissue of Mass., Inc., 352 F.3d 33, 37 (1st Cir. 2003)). In terms of federal question jurisdiction, it must

be determined if “an action ‘aris[es] under the Constitution, laws or treaties of the United States.’”

Am. Policyholders Ins. Co. v. Nyacol Prods., Inc., 9898 F.2d 1256, 1262 (1st Cir. 1993) (citations omitted).

Specifically, there are two types of actions that can come within federal question jurisdiction: (i)

those involving direct federal questions, and (ii) those involving an embedded federal question.

Ortiz-Bonilla, 734 F.3d at 34-35 (citing Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 808-09

(1986)). The former presents cases in which the plaintiff pleads a cause of action that is created

by federal law. Id. at 34. Pleading federal law as a defense does not present a federal question.

Louisville & Nashville R. Co. v. Mottley, 211 U.S. 149, 152 (1908) (stating that a plaintiff alleging that an

anticipated defense would be invalidated by the Constitution does not make a cause of action

arise under the Constitution, laws or treaties of the United States); Merrell Dow Pharm. Inc., 478 U.S.

at 808 (“A defense that raises a federal question is inadequate to confer federal jurisdiction.”). The

latter presents cases in which the plaintiff pleads a state cause of action that turns on the

resolution of some federal issue and that issue is substantial enough to confer jurisdiction. Id. at

34-35 (citing Merrell Dow Pharm. Inc., 478 U.S. at 808).

        Plaintiff brought a state cause of action against Defendants for the collection of monies

and foreclosure of real property due to Defendants’ failure to make the necessary payments

pursuant to the settlement agreement. Docket No. 6 at 2. In the state complaint, Plaintiff did not

allege any federal law violations. Id. at 3. After litigation was well underway, Defendants removed
          Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 4 of 8


CIVIL NO. 17-2113 (JAG)                                                                         4

the action to this Court. Docket Nos. 1; 6 at 3-4. In their Notice of Removal, Defendants argue that

Plaintiff violated a number of federal laws. Docket No. 1 at 1-2. As explained above, federal

jurisdiction is not conferred when a defense raises the federal question. See Merrell Dow, 478 U.S.

at 808 (“[A] defendant may remove a case only if the claim could have been brought in federal

court . . .”). Here, Defendants claim that federal law was violated in the notice of removal. Docket

No. 1 at 1-2. Plaintiff did not include federal law in its state complaint. Thus, this case does not

raise a federal question jurisdiction in the Complaint.

        Additionally, Plaintiff’s state claims do not give rise to an embedded federal issue. As

previously stated, Plaintiff’s state claims are for the collection of monies based on non-payment of

a mortgage and foreclosure. As such, this case lacks an important federal issue of national interest

that, in the rarest of cases, would grant jurisdiction on this Court. The statutes cited by

Defendants are means that give way to these proceedings but do not contain an embedded federal

issue. Banco Popular de P.R. v. Ramirez, 280 F. Supp. 3d 316, 320 (D.P.R 2017). As courts of limited

jurisdiction, this Court is unable to hear this state foreclosure matter. Id. (citing Merrell Dow Pharm.

Inc., 478 U.S. at 808, 814).

        Accordingly, the Court lacks subject-matter jurisdiction over this claim. However, even if

this Court had jurisdiction, this case would not be removable at this juncture.


 II.    Removal Statute’s Thirty-Day Requirement

        Defendants argue that the state court denial of the second motion for reconsideration is a

paper or document, which made the state court action removable to this Court. Docket No. 1. The

Court disagrees.
           Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 5 of 8


CIVIL NO. 17-2113 (JAG)                                                                                5

        A defendant wishing to remove a case to federal court shall file a notice of removal

containing a plain statement of removal grounds along with a copy of all process, pleadings and

orders served upon defendants.1 28 U.S.C. 1446(a). The notice of removal shall be filed within

thirty-days after receiving a copy of the initial pleading or after the receipt of an amended

pleading, motion, or order. 28 U.S.C. 1446(b). The thirty-day requirement for the receipt of an

amended pleading, motion or order only applies if it just became discernible that the claim could

be removed. Id. That is,

                 [i]n order for a case to be removed on the basis that the grounds for
                 removal were not apparent from the initial pleading, the amended
                 pleading, motion, order or other document must be such that ‘so
                 changes the nature of the action as to constitute substantially a new
                 suit begun that day.’

Hernandez-Lopez v. Puerto Rico, 30 F. Supp. 2d 205, 210 (D.P.R. 1998) (citation omitted).

        Here, Defendants allege that the state court order denying their motions to stay the

proceedings on July 19 and August 8 of 2017 made it apparent that they could remove the case to

this Court. Docket Nos. 1 at 3; 12 at 3; 6-12; 6-13. The Court cannot discern from the orders what

makes the claim now removable. Defendants fail to explain what substantial federal issue is raised

by the state court orders, or how the state court orders changed the action in such a way that it




1
 The Court notes that Defendants failed to submit translations of all pleadings and orders served upon
them during the state court action and relied on the translation of the two orders denying the motion to
stay proceedings submitted by Plaintiff. Defendants are reminded that, under 48, U.S.C § 864, all pleadings
and proceedings in the United States District Court of Puerto Rico are conducted in the English language
and “[a]ll documents not in the English language which are presented or filed, whether as evidence or
otherwise, must be accompanied by a certified translation into English prepared by an interpreter certified
by the Administrative Office of the United States Courts.” L. Cv. R. 5(g) (D.P.R. 2010). “[A] defendant's
failure to provide the district court with certified translations . . . of the motions filed in the Puerto Rico
court ‘could be fatal to removal.’” First Bank Puerto Rico v. Swift Access Mktg., Inc., 697 F. Supp. 2d 259, 260
(D.P.R. 2010) (citing Hoyos v. Telecorp Communs., Inc., 488 F.3d 1, 4 (1st Cir.2007)).
          Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 6 of 8


CIVIL NO. 17-2113 (JAG)                                                                         6

would “substantially be a new suit.” Hernandez-Lopez, 30 F. Supp. 2d at 210. Notwithstanding the

state court orders, the Court fails to see why the thirty-day requirement limit does not apply to

the state court claim filed in 2011. Thus, the Court finds no reason why the state court orders

should have any bearing on the removal question.


III.    Fed. R. Civ. P. Rule 11 and 28 U.S.C. § 1927 Sanctions

        Plaintiff requests that the Court impose sanctions on Defendants and to be reimbursed for

costs and attorneys’ fees associated with the alleged meritless removal. Docket No. 6 at 9. The

Court agrees.

        Pursuant to 28 U.S.C § 1447(c), “. . . an order remanding the case may require payment of

just costs and . . . attorney fees incurred as a result of the removal.” Similarly, Rule 11(b) places on

attorneys “a duty . . . to investigate their clients’ claims before making any filings and to reassess

them throughout the litigation.” Kale v. Combined Ins. Co. of Am., 861 F.2d 746, 759 (1st Cir. 1988). The

purpose of this rule is to deter frivolous filings and streamline the administration and procedures

of the federal courts. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990). Although a party’s

request to impose sanctions must be made on a separate motion, the Court can order on its own

initiative a party to show cause why they have not violated Rule 11(b). Fed. R. Civ. P. 11(c). Here,

Plaintiff has sought sanctions, see Docket No. 6 at 9, and Defendants have opposed them, see

Docket No. 20 at 18-20. Thus, the Court finds that an order to show cause at this point would be

futile and proceeds with the adjudication of the sanctions issue.

        The Court notes that Defendants’ attorneys have filed various removal proceedings in this

District in foreclosure cases that have been remanded to state court. See, e.g., WM Capital Partners, 53

LLC v. San Juan Properties, Inc., 270 F. Supp. 3d 545 (D.P.R. 2017) (ordering the action to be
           Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 7 of 8


CIVIL NO. 17-2113 (JAG)                                                                            7

remanded); Banco Popular de P.R., 280 F. Supp. 3d at 320-21 (D.P.R. 2017) (same); Banco Santander de

P.R. v. Bastardo-Aguilar, No. 17-2071, ECF No. 16 (GAG), (D.P.R. Nov. 16, 2017). In some of the cases,

the Court has identified the removal action “as a last-gasp effort to stay the public auction of the

foreclosed property.” WM Capital Partners, 270 F. Supp. 3d at 547. Indeed, in WM Capital Partners and

Banco Popular de P.R., the Court called the removal of the actions “vexatious and improperly

motivated.” Id.; Banco Popular de P.R., 280 F. Supp. 3d at 320-21 (D.P.R. 2017) (citation omitted). In

these two cases, the Court granted Rule 11 sanctions and reimbursed the costs and attorneys’ fees

to Plaintiffs.

        As this is the fourth instance that defense counsel presents what appears to be an improper

removal before this Court, the Court sanctions Defendant one thousand dollars ($1,000) to be

paid half by Defendants and half by Defendants’ counsel. See 28 U.S.C. § 1927 (“Any attorney . . .

who so multiplies the proceedings in any case unreasonably and vexatiously may be required by

the court to satisfy the excess costs, expenses and attorneys’ fees reasonably incurred because of

such conduct.”). Defense counsel shall deposit the sanctions imposed with the Clerk of Court on

or by July 17, 2018.

        Furthermore, Defendants shall reimburse Plaintiff for costs and attorneys’ fees accrued

because of the removal. In order to calculate attorneys’ fees, courts generally use the “lodestar”

method, which determines the fees by multiplying a reasonable hourly rate by the number of hours

spent on the lawsuit. See United States v. Nesglo, Inc., 744 F.2d 887, 892 (1st Cir. 1984); see also Cofino-

Hernandez v. Commonwealth, 230 F. Supp. 3d 69, 72-73 (D.P.R. 2017) (using the “lodestar” method to

determine attorneys’ fees). Accordingly, the Court orders Plaintiff to provide a fee schedule
         Case 3:17-cv-02113-JAG Document 24 Filed 07/03/18 Page 8 of 8


CIVIL NO. 17-2113 (JAG)                                                                    8

reflecting excess costs, expenses and attorneys’ fees incurred as a result of this removal by or on

July 17, 2018. Defendants will have until July 31, 2018 to respond.


                                         CONCLUSION

       For the reason set out above, the Motion to Remand is GRANTED and this action is

REMANDED to the Puerto Rico Court of First Instance, Aguadilla Superior Division for further

proceedings.

       Furthermore, Defendants are sanctioned and shall pay the sum of one thousand dollars

($1,000) to the Clerk of Court. Specifically, Defendants shall pay five hundred dollars ($500) and

Defense Counsel the remaining five hundred dollars ($500) by 7/17/2018.

       Plaintiff shall provide a fee schedule reflecting excess costs, expenses and attorneys’ fees

incurred as a result of this removal by or on 7/17/2018. Defendants shall respond by 7/31/2018.

       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this Tuesday, July 03, 2018.



                                                                      s/ Jay A. Garcia-Gregory
                                                                      JAY A. GARCIA-GREGORY
                                                                      United States District Judge
